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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Donald Henneberg
                               Plaintiff,
v.                                                    Case No.: 1:19−cv−07380
                                                      Honorable Jeremy C. Daniel
Tom Dart, et al.
                               Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 21, 2024:


         MINUTE entry before the Honorable Jeremy C. Daniel: Motion hearing held. The
defendants' motion for a protective order [149] and the plaintiff's motion to compel are
granted in part and denied in part for the reasons stated on the record. In summary: (1) the
plaintiff's motion to compel incident reports summarized in spreadsheets produced by the
defendants is denied as cumulative; the motion to compel grievance reports is granted
with respect to grievances filed between 2017 and 2019; (2) the plaintiff's motion to
compel incident and grievance reports from 2010 to 2014 is granted in that the defendants
must produce a summary spreadsheet containing the information contained in the incident
reports (similar to the prior production covering 2015−2019); (3) the plaintiff's motion to
compel documents related to requests for eyeglasses and other vision−related issues is
granted but limited to optometrist requests; (4) the defendant's shall produce Scott
Jakubowski for a deposition; (5) the plaintiff's request for documents related to other civil
or criminal claims is denied (without prejudice) as overbroad; (6) the defendant's
represented that they have searched for documents related to the DOJ−investigation
responsive to the plaintiff's request and did not find any, so there is nothing to compel; (7)
the Court finds materials related to training and responding to phone−related assaults and
requests for eyeglasses relevant and understands that the defendants have produced some
(if not all) responsive documents. The parties should refer to the transcript for further
guidance. The parties shall confer and propose an amended discovery schedule. Mailed
notice(vcf, )




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